       CASE 0:03-cr-00354-JNE-JGL            Doc. 331      Filed 03/06/12      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                            Criminal No. 03-354(1) (JNE)

                      Plaintiff,

v.                                                           ORDER

ROBERT LEON ROBERSON,

                      Defendant.



       Defendant, Robert Leon Roberson has moved, pursuant to 18 U.S.C. § 3582(c), for a

sentencing reduction under the revised and retroactive amendments to the United States

Sentencing Guidelines applicable to crack cocaine cases. The Government has responded.

       After trial, the original sentence was mid-range. Now his range has been retroactively

lowered to 121-151. Mid-range is again the lowest appropriate sentence. It provides just

punishment for the offense which, as proved at trial, was serious. The defendant has not shown,

by attitude or action, that he is unlikely to recidivate. Less than 136 would place the defendant

out of sync with similarly situated defendants and would not provide just punishment.

       Based on a review of the file, record and proceedings herein,

       IT IS HEREBY ORDERED that the motion is GRANTED, in part. Defendant’s

sentence is amended to 136 months. All other conditions previously imposed, including the term

of supervised release, remain in effect, with the addition of the following condition. The
       CASE 0:03-cr-00354-JNE-JGL              Doc. 331      Filed 03/06/12     Page 2 of 2




defendant shall reside for a period of up to 180 days in a residential re-entry center as approved

by the probation officer and shall observe the rules of that facility.




Dated: March 6, 2012                                   s/ Joan N. Ericksen
                                                       Joan N. Ericksen, Judge
                                                       United States District Court
